        Case 1:21-cr-00175-TJK Document 288-1 Filed 02/09/22 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                         :
                                                  :
        v.                                        :          21-CR-175-1 (TJK)
                                                  :          21-CR-175-2 (TJK)
 ETHAN NORDEAN,                                   :
 also known as “Rufio Panman,”                    :
                                                  :
 JOSEPH BIGGS,                                    :
                                                  :
                      DEFENDANTS.                 :


                                     [PROPOSED] ORDER
       The Government has submitted a motion to continue the deadline to submit its response to

the Court’s oral order of February 8, 2022. In light of the representations by the Government in its

motion and for good cause shown, the Court hereby ORDERS the Government to file a response

on or before February 11, 2022.



SO ORDERED

DATE: February __, 2022                                      ______________________________
                                                             TIMOTHY J. KELLY
                                                             United States District Judge
